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May 29, 2024                                                         Direct Dial
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VIA ACMS                                                             rallen@glaserweil.com

Molly Dwyer
Clerk of the Court
U.S. Court of Appeals for the Ninth Circuit
PO Box 193939
San Francisco, CA 94119-3939

Re:      Sedlik v. Von Drachenberg, et al.
         Case No. 24-3367 / Originating USDC Case No. 2:21-cv-001102-DSF-MRW

Dear Ms. Dwyer,

      I am writing in response to the Court’s May 29, 2024 Docketing Notice for the
captioned case, which states “The $605 docketing fee remains due.”

       On the advice of your office that we received via phone today,
Appellant/Plaintiff Jeffrey Sedlik is filing, concurrently herewith, the District Court’s
Notice of Docket Activity containing details of its receipt of payment of the $605 fee
for Sedlik’s Notice of Appeal, filed May 22, 2024.

      We respectfully request that the Court adjust its records to reflect that the
docketing fee has been paid in full.

Sincerely,



ROBERT E. ALLEN
of GLASER WEIL FINK HOWARD JORDAN & SHAPIRO LLP

REA:lo




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